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                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA


 TRISTA R. MELOW and DUSTIN A.                         Case No. _________________
 MELOW,

               Plaintiffs,                                     COMPLAINT
        vs.

 UNITED STATES OF AMERICA,

               Defendant.


              Plaintiffs, by and through counsel of record, Atkinson Conway & Gagnon,

hereby claim and allege as follows:

              1.      The acts or omissions upon which this cause is based occurred in

Fairbanks, Alaska.

              2.      This suit is brought pursuant to the Federal Tort Claims Act, 28 U.S.C.

§ 2674, and this court has exclusive jurisdiction over this action pursuant to 28 U.S.C.

§ 1346(b). Venue in this District is authorized by 28 U.S.C. § 1402(b).




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                 3.   Notice of this claim as required by 28 U.S.C. § 2675 was received by

the U.S. Department of the Army on May 10, 2010.

                 4.   The Army Claims Office expressed an interest in resolving the claims

administratively, and Plaintiffs cooperated with Defendant. Trista Melow submitted to

Independent Medical Examinations by a neurologist, Raphael Llinas M.D., and a

neuropsychologist, Karen Bolla, PhD, selected by the Army Claims Office. Both of those

experts confirmed the nature and extent of Trista Melow’s disabilities that resulted from the

brain injury. Defendant, however, never attempted to resolve the claim, and has not

rendered a final decision.

                 5.   An amended notice of claim was received by the U.S. Department of

the Army on August 5, 2013. More than six months have elapsed since Plaintiffs submitted

the amended administrative claim.

                 6.   The Bassett Army Community Hospital (hereafter “BACH”) is

operated by the United States Army in Fairbanks, Alaska. Health care providers at BACH

are employees of the United States for purposes of liability under the FTCA if they are

acting within the scope of their employment.

                 7.   At all times relevant to this complaint, the negligent acts and omissions

complained of were committed by employees of BACH who were acting within the scope of

their employment.

                 8.   At all times relevant herein, Trista Melow was the wife of Dustin

Melow. She was only 20 years old at the time of her hemorrhagic stroke and resulting

injuries.

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                 9.    Trista Melow had no preexisting condition that caused or explains the

outcome of her improper care by the employees of Defendant.

                 10.   At the time of the events set forth herein, Dustin Melow was a soldier

in the United States Army. As the dependent spouse of a member of the Army, Trista

Melow was entitled to receive medical care from the United States Army, including BACH.

                 11.   Trista Melow was at all times compliant with her doctor’s instructions

and her medication regimen. No act or omission of Trista Melow caused the injuries and

damages complained of herein.

                 12.   Postpartum preeclampsia is a common medical emergency that is easily

diagnosed and readily treatable. Trista Melow suffered severe injuries as a consequence of

the negligent and reckless failure of BACH personnel to properly and timely diagnose and

treat Trista Melow’s postpartum preeclampsia.

                                 FIRST CLAIM FOR RELIEF

                 13.   The preceding paragraphs of this complaint are hereby incorporated by

reference as if herein stated.

                 14.   Medical personnel employed by BACH, including doctors,

anesthesiologists, and nurses breached the applicable standards of care and were negligent in

providing diagnosis and emergency medical care to plaintiff Trista Melow. The negligence

of these care providers included, but was not limited to, the failure to timely evaluate,

diagnose, and treat her illness, which failures proximately caused her catastrophic injuries.




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                 15.   Trista Melow’s postpartum preeclampsia could have been readily

diagnosed and treated, and the injuries she suffered could have been wholly prevented by

timely intervention by Defendant’s employees.

                 16.   Trista Melow gave birth to her second child on July 11, 2008 in BACH.

She was discharged from BACH on July 12, 2008 at 1230 ADT.

                 17.   She returned to the BACH emergency department on July 13, 2008 at

1544 ADT. She complained of back pain, headache, nausea, and having vomited three times

in 24 hours. She had severe high blood pressure of 168/96. She was released from the

emergency room at 1902 ADT. No diagnosis had been made and her severe high blood

pressure was not treated. She was given more Percocet and told to return if her condition

worsened, such as severe headache.

                 18.   Eight hours later, on July 14, 2008 at 0328 ADT, Trista Melow

returned to the BACH emergency room complaining of debilitating headaches, with

associated nausea and vomiting. Her blood pressure of 173/96 was severely high. A blood

patch was performed, but it did not relieve her headache. If her headaches had been a result

of the lumbar puncture done at the time of child birth they should have ceased after the

blood patch. They did not, and she continued to have severe headache and nausea even

while laying still in the emergency department. BACH personnel failed to perform a proper

differential diagnosis or otherwise investigate the cause of her continuing severe headache,

high blood pressure and nausea. When sent home from the emergency room, her severe

high blood pressure was higher than when she arrived. No diagnosis was made and her



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severe high blood pressure was not treated. Instead, BACH personnel gave her morphine

and sent her home. She was told to have her blood pressure checked in two or three days.

                 19.   On July 15, 2008 at 2159 ADT, Trista Melow again returned to the

BACH emergency department, complaining of severe headache, vomiting, extreme pain and

photophobia. Her blood pressure was 183/94 and she was observed “intermittently

writhing on bed in pain holding head.” She was given morphine, Tordal and Valium. After

a delay of four hours, BACH emergency personnel finally had Trista Melow admitted to

BACH at 0200 on July 16, 2008. Upon admission, she was diagnosed as having severe

postpartum preeclampsia based on her severe headache and severe range blood pressure of

183/94. Hospital personnel then started the BACH standard Pre-Eclampsia Postpartum Critical

Pathway protocol.

                 20.   On July 17, Trista Melow complained of weakness in her left leg and

left upper extremity, and BACH personnel observed that she also had a left-sided facial

droop. She was transported to Fairbanks Memorial Hospital for MRI, which revealed a

“5cm right putamen acute/early subacute hematoma, most consistent with a hypertensive

bleed.” The MRI also showed the “location of the bleed is very typical for hypertensive

bleed.”

                 21.   On July 17, 2008, after the MRI, a BACH doctor assessed Trista

Melow’s condition as “postpartum preeclampsia with hemorrhagic stroke likely due to severe

range blood pressures noted at time of admission.”

                 22.   In addition to the duty to exercise reasonable care in the diagnosis, care

and treatment of Trista Melow, Defendant’s employees had a duty to create

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contemporaneous records to describe accurately and fully everything of consequence they

did and which their trained eyes discovered. Dr. Thomas Lyngholm failed to make such a

record on Trista Melow’s visit on July 13, 2008, instead trying to create a record on August 1,

2008, more than two weeks after the subject visit. Dr. Charles Redger, an anesthesiologist,

examined Trista Melow and consulted with Dr. Lyngholm on July 14, 2008 but did not make

a contemporaneous record, instead creating a record late in the day on July 15, 2008.

                 23.   Defendant and its employees also had a duty to preserve complete

records about Trista Melow, her care, diagnosis and treatment. At least one brain scan is

missing and has not been provided despite repeated requests from counsel for Plaintiffs.

                 24.   Defendant’s failure to create and preserve complete, accurate,

contemporaneous records of her care, diagnosis and treatment hinders Trista Melow’s ability

to establish a prima facie case. As a result, the burden of proof is shifted to Defendant.

Plaintiffs are entitled to a rebuttable presumption that Defendant was medically negligent

and that this negligence legally caused Trista Melow’s injuries.

                 25.   As a direct and proximate result of the negligence of the employees of

Defendant as described above, Plaintiff Trista Melow suffered a hemorrhagic stroke. This

hypertensive stroke caused extensive and permanent brain damage. Trista Melow was left

with a permanent cystic cavity in her brain tissue that measures 4.7 cm x 1.2 cm x 2.3 cm.

This cavity includes the basal ganglia and caudate nuclei, structures of the brain that have a

primary role in behavioral and cognitive functions, in processing information related to

specific prefrontal regions, and in conceptually integrating information.



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                 26.   As a direct and proximate result of the negligence of the employees of

Defendant as described above, Trista Melow has suffered past and future damages including,

but not limited to:

                 (a)   Personal injuries, including damage to her brain and disruption of

                       critical functions, with resulting lethargy, abulia, loss of initiative,

                       depression, paranoia, hallucinations, disinhibition, impaired memory,

                       cognitive deficits and loss of executive function;

                 (b)   Great physical and mental pain;

                 (c)   Agony and emotional suffering;

                 (d)   Loss of enjoyment of life;

                 (e)   Loss of love, companionship and consortium;

                 (f)   Medical, rehabilitative, and life care expenses, including but not limited

                       to

                       i.      Routine and emergency medical care;

                       ii.     Psychiatric and psychological care;

                       iii.    Cognitive rehabilitation therapy;

                       iv.     Antidepressant drugs;

                       v.      Case management services;

                       vi.     Assistance with activities of daily living, including a home care

                               aide, and guardianship;

                       vii.    Wage losses,

                       viii.   Loss of insurability; and

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                        ix.      Other economic and noneconomic losses, all to her damage in

                                 excess of $100,000, the exact amount to be determined at trial.

                                 SECOND CLAIM FOR RELIEF

                  27.   The preceding paragraphs of this Complaint are hereby incorporated

by reference as if herein stated.

                  28.   As a direct and proximate result of the negligence of the Defendant

described above, Plaintiff Dustin Melow has suffered past and future damages including, but

not limited to:

                  (a)   Loss of love, companionship and consortium;

                  (b)   Emotional distress (NIED);

                  (c)   Economic losses (wage losses; increased life, educational and medical

                        care expenses); and

                  (d)   Other economic and noneconomic losses all to his damage in excess of

                        $100,000, the exact amount to be determined at trial.

                                 THIRD CLAIM FOR RELIEF

                  29.   The preceding paragraphs of this complaint are hereby incorporated by

reference as if herein stated.

                  30.   Medical personnel employed by BACH, including doctors,

anesthesiologists, and nurses, engaged in reckless misconduct, and acted with reckless

disregard for the health, rights and safety of Trista Melow and Dustin Melow. Defendant’s

employees knew that Trista Melow was a postpartum patient at high risk who exhibited

severely high blood pressures that were signs of preeclampsia. Despite that knowledge,

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Defendant’s employees knowingly and recklessly: (1) failed to staff the emergency

department with personnel trained and knowledgeable about obstetric issues such as

postpartum preeclampsia; (2) failed to train emergency department personnel as to the

critical nature of postpartum preeclampsia and the need for prompt diagnosis, treatment

and/or referral to a specialist; (3) chose not to perform a proper differential diagnosis;

(4) failed to consult with an obstetrics specialist; (5) failed to refer Trista Melow to an

obstetrics specialist; (6) failed to make a diagnosis or to rule out preeclampsia; (7) failed to

treat Trista Melow for severe high blood pressure and/or preeclampsia; (8) failed to create

complete contemporaneous medical records, thereby creating a high risk of misdiagnosis,

compounded by increasing the risk of misdiagnosis in a medical emergency; (9) repeatedly

sent her home after failing to treat her severe high blood pressure; (10) failed to follow well-

established medical and facility (BACH) protocols for treatment of this routine medical

emergency; (11) failed to admit her to BACH for close observation and monitoring; and

(12) failed to provide appropriate warnings, information or discharge instructions as to the

signs, symptoms and dangers of preeclampsia.

                 31.   The risk of injuries and losses sustained by Trista Melow and Dustin

Melow were known and foreseen by Trista Melow’s care providers when she was not

diagnosed and treated, and their reckless disregard of the risk of such injuries was the

proximate cause of the damages Trista Melow and Dustin Melow suffered.

                 32.   Pursuant to AS 09.55.549(f), the limit imposed on noneconomic

damages within that statute does not apply because Defendant and its employee care



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providers engaged in reckless misconduct, and acted with reckless disregard for the rights

and safety of Trista Melow and Dustin Melow.

                 WHEREFORE, the Plaintiffs, and each of them, pray for relief as follows:

                 A.    An amount in excess of One-Hundred Thousand Dollars ($100,000),

the exact amount to be determined at trial.

                 B.    For costs and such other and further relief as this court deems just and
equitable.

                 DATED this 11th day of February 2014.

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                                               Attorneys for Plaintiffs

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